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UNITED STATES DISTRICT COURT FOR
EASTERN DISTRICT OF PENNSYLVANIA

 

BENNETT BEER, on Behalf of Himself and
All Others Similarly Situated,

Plaintiff, CLASS ACTION COl\/[PLAINT

vs JURY TRIAL DEMANDED

IKEA North America Services, LLC, d/b/a as
IKEA

 

Defendant.

 

CLASS ACTION COMPLAINT

Plaintiff, Bennett Beer (Plaintiff or l\/Ir. Beer), by and through undersigned counsel, on
behalf of himself and all persons similarly situated, complains and alleges as follows:

NATURE OF THE CASE

l. This is a civil action seeking monetary damages, restitution, declaratory relief, and
injunctive relief from IKEA North America Services, LLC (“IKEA”), arising from IKEA’s breach
of contract and false and deceptive representations regarding its coupon offering $25 off a purchase
of $150 or more before tax. See Ex. A (example of such a coupon).l.

2. IKEA prominently advertises its coupon, offering $25 off a purchase of $150 or
more before tax (e.g., “the July MEGA $25 off”). IKEA also proximately advertises its return
policy, as follows:

It’s OK to change your mind. If you’re not totally satisfied with
your IKEA purchase you can return it Within 365 days, together

with proof of purchase, for a full refund.
See Ex. B.2 '

 

l See also https://info.ikea-usa.com/l\/lakeRoomForNature/Content/pdf/coupon.pdf (last visited
8/16/2018) (example of similar coupon).

2 See also https://WWW.ikea.com/ms/en US/customer-service/about-shoppinglreturn-
policy/index.html (last visited 8/16/2018) (IKEA Website stating its return policy).

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3. These statements are false in this instance. When customers utilize an IKEA
coupon to purchase over a certain amount before tax and then return merchandise, IKEA spreads
dmmmmnmwemm$Mmeqmmm%¢ynmcmmmmdmmwwmdwamhmmmonme
returned merchandise.

4. This contradicts IKEA’s express, unambiguous representations in the coupon
agreement As a result, customers are not provided a full refund on the returned merchandise as
promised, and IKEA keeps for itself the portion of the coupon that it has allocated to the returned
merchandise, With no regard for the amount over $15 0 (or other set amount specified by a coupon)
of the original purchase.

5. IKEA’s deceptive conduct has injured Plaintiff and other Class members, and
constitutes breach of express and implied contract, breach of the implied covenant of good faith
and fair dealing, fraud, fraudulent inducement, and fraud in the execution, negligent
misrepresentation or omission, unjust enrichment, and a violation of the Pennsylvania Unfair
Trade Practices and Consumer Protection Law (“UTPCPL”), 73 Pa. Stat. § 201-l et. seq. As a
result, Plaintiff and other Class members are entitled to monetary damages, declaratory and
injunctive relief, fees, costs, and other relief available at law or equity.

JURISDICTION AND VENUE

6. This Court has original jurisdiction of this action under the Class Action Fairness
Act of 2005. Pursuant to 28 U.S.C. §§ l332(d)(2) and (6), this Court has original jurisdiction
because the aggregate claims of the putative Class exceed $5 million, exclusive of interest and
costs, and at least one of the members of the proposed classes is a citizen of a different state than

Sunoco.

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7. Venue is proper in this district pursuant to 28 U.S.C. § 1391 because IKEA is
subject to personal jurisdiction here and regularly conducts business in the Eastern District of
Pennsylvania, because Plaintiff resides in this district and his transaction at issue occurred in this
district, and because a substantial part of the events or omissions giving rise to the claims asserted
herein occurred in this district.

THE PARTIES

8. Plaintiff Bennett Beer is a resident and citizen of the Commonvvealth of
Pennsylvania.

9. Defendant IKEA North America Services, LLC (“IKEA”), is a Delaware limited
liability company operating a chain of home furnishing retail stores in North America. The
company Was founded in 1985 and has its principal place of business located at 420 Alan Wood
Road, Conshohocl<en, Pennsylvania, 19428. IKEA regularly conducts business in Pennsylvania.
It has specific, as Well as general and systematic, contacts in Pennsylvania IKEA North America
Services, LLC operates as a subsidiary of IKEA Holdings U.S., Inc., a subsidiary of INGKA
HOLDING B.V., a SWedish company. On information and belief, promotional and administrative
decisions about IKEA coupons and policy affecting U.S. residents are made by IKEA personnel
in Pennsylvania

10. IKEA may be served through its registered agent, The Corporation Trust Company,
located at the Corporation Trust Center, 1209 Orange Street, Wilmington, Delaware 19801.

COMMON FACTUAL ALLEGATIONS

A. The Coupon

ll. IKEA prominently advertises coupons available to all customers. Among other
times, in July of 2018, IKEA made a coupon available promising “$25 off a purchase of $15 0 or

more before tax.” See Ex. A.

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12.

13.

The terms of the coupon and its use Were printed on the coupon itself:

Offer valid April 21 ~ April 22, 2018. One discount per household.
Discount Will be taken prior to tax and shipping and handling Valid
in US stores only. No cash value. Printed coupon or electronic copy
must be presented at time of purchase. Void if altered, copied,
transferred, resold, sold through online auction or prohibited by law.
Cannot be combined with other IKEA offers or discounts, except
IKEA FAMILY product offers. Not valid on IKEA Kitchen Event
offer, IKEA services, Eat for Free or Kids Eat Free IKEA Food
Offers, IKEA FAMILY Individual Kitchen Planning Service Offer
or in the IKEA Restaurant or Swedish Food Market. Not valid on
previous purchases or the purchase of IKEA Gift Cards. Additional
terms and conditions may apply. See store for details.

Further, the coupon explains how it can be used: To redeem your coupon, bring

it to your local IKEA store or display it on your phone at checkout.

14.

Thus, When used, the $25 discount coupon should accrue for every purchase of over

$150 or more before tax.

B.

15.

16.

l'7.

The Return Policy

IKEA prominently advertises its return policy to all customers. See Ex. B.
The terms of the return policy are:

It’s OK to change your mind. If you’re not totally satisfied With your

IKEA purchase you can return it Within 365 days, together with

proof of purchase, for a full refund. Refunds Will be made in the

same form of payment originally used to make the purchase.

Returns can be made in the store, or pick-up is available. Even if a customer does

not have the original receipt, if the purchase was made within a year, IKEA can attempt to locate

it using information from the original the purchase.

18.

Thus, IKEA’s return policy assures customers that they can return merchandise and

get “a full refund.”

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C. Plaintiff’s Experience with IKEA

19. Plaintiff, Mr. Bennett Beer, was a customer at IKEA’s store in Conshohocken, PA.
On July 8, 2018, he went to the Conshohocken store and purchased merchandise Worth over $150.

20. He presented the July MEGA $25 off coupon and the coupon was applied to his
purchase such that he paid $25 less on the merchandise that he purchased. His total bill before tax
on July 8, 2018 was $351.99. His $25 discount Was applied to that, totaling $326.99.
Pennsylvania’s 6% sales tax Was then applied.

21. Two days later, on July 10, 2018, Mr. Beer returned to the Conshohocken IKEA
store and returned a shelving unit (identified as KALLAX shlf ut). The product’s purchase price
was $79, but Mr. Beer was only given credit for the purchase in the amount of $73.39, plus tax.

22. A closer inspection of Mr. Beer’s original receipt shows that IKEA does not sub-
total all of the items, then apply a $25 discount. Instead, the register calculates the ratio the $25
reflects across all the purchases and applies that ratio to reduce the price of each item. The equation

can be summarized as follows:

 

 

Total cost of purchase before tax + ((total = The % to be applied to each piece of
cost of purchase before tax) - $25) merchandise for purposes of return
value

23. In Mr. Beer’s case, the calculation is $351.99/$326.99 = .9298989. So, the register
reduces the price of each item by multiplying it by .9298989.

24. Mr. Beer returned an item originally worth $79.00, but after the above discount was
individually applied to it, he only received back $73.39.

25. Even though Mr. Beer’s total transaction Was still over $150 even after the return
is factored in, he received only $73.39 back. So, he effectively received less than the $25.00 off

his total purchase, as promised. This directly contradicts lKEA’s promises and representations

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26. The arithmetic demonstrating how Mr. Beer received less than $25 off can be stated
thusly. After his refund, Mr. Beer should have paid the following before tax: $351.99 (original
total purchase) - $79 (returned item) - $25 (coupon) = $247.99.

27. However, because IKEA spreads the coupon savings the way it does, he actually
ended up paying more: $326.99 (original gross total price after coupon ratio applied) - $79.39
(retumed item’s value with coupon ratio applied) = $250.60.

28. Thus, Mr. Beer should have been out of pocket $247.99 after his retum. Instead,
he was out of pocket $250.60, or about $2.61 more than he should have been.

29. Thus, contrary to its promises and representations, IKEA does not provide a full
refund on merchandise that was purchased using the coupon despite meeting all the terms of the
contract and does not honor the explicit terms of its own coupon offerings.

C. IKEA Benefits from Its Conduct

30. IKEA substantially benefits from its fraudulent, deceptive, and unfair conduct By
offering customers a discount on merchandise and a full refund on returns, IKEA has lulled
consumers into making purchases when they might not have, or that they would have made
elsewhere, and/or at a lower price.

31. In addition, IKEA has also enriched itself by not returning back the full refund
value of the merchandise purchased by putative Class members and keeping the money for itself.

CLASS ALLEGATIONS

32. Plaintiff brings this action on behalf of himself and all others similarly situated
pursuant to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3). This action satisfies the numerosity,

commonality, typicality, adequacy, predominance, and superiority requirements of Rule 23.

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33. The proposed classes are defined as:

All persons in the United States who, Within the applicable statute
of limitations preceding the filing of this action through class
certification, used an IKEA coupon that promised a dollar amount
off a set total purchase amount before tax and returned an item, but
the total purchases still exceeded the set total amount before tax even
after the return. (the “National Class”); and, alternatively,

All persons in the Commonwealth of Pennsylvania who, within the
applicable statute of limitations preceding the filing of this action
through class certification, used an IKEA coupon that promised a
dollar amount off a set total purchase amount before tax and returned

an item, but the total purchases still exceeded the set total amount
before tax even after the return.

The National Class and the Pennsylvania State Subclass are collectively referred to as the
“Classes.” Plaintiff reserves the right to modify or amend the definition of the proposed Classes
before the Coult determines whether certification is appropriate

34. Excluded from the Classes are IKEA, its parents, subsidiaries, affiliates, officers
and directors, any entity in which lKEA has a controlling interest, all customers who make a timely
election to be excluded, governmental entities, and all judges assigned to hear any aspect of this
litigation, as well as their immediate family members.

35. The members of the Classes are so numerous that joinder is impractical. The
Classes consist of hundreds or thousands of members, the identities of whom are within the
knowledge of and can be ascertained only by resort to IKEA’s records.

36. The claims of the representative Plaintiff are typical of the claims of the Classes in
that the representative Plaintiff, like all Class members, is an IKEA customer that used the coupon,
returned merchandise and still had total purchases in excess of a set amount before tax even after
the return. The representative Plaintiff, like all Class members, has been damaged by IKEA’s
misconduct in that they were not given a fiill refund and/or were not given full value of the coupon
discount. Furthermore, the factual basis of IKEA’s misconduct is common to all Class members

and represents a common thread of conduct resulting in injury to all members of the Classes.
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37. There are numerous questions of law and fact common to the Classes and those
common questions predominate over any questions affecting only individual Class members.
38. Among the questions of law and fact common to the Classes are whether IKEA:
a. Breached the promise that customers would receive a promised amount off
total purchases (e.g., $25) of set amounts (e.g., $15 0 or more) before tax.
b. Breached the promise that customers would receive full refunds on validly
returned merchandise
c. Unlawfully, falsely, deceptively, or misleadingly represented that
customers would receive a promised amount off total purchases (e.g., $25) of set amounts (e.g.,
$15 0 or more) before tax.
d. Unlawfully, falsely, deceptively, or misleadingly represented that
customers would receive full refunds on validly returned merchandise
e. To the extent applicable, whether and how long IKEA fraudulently

concealed its past and ongoing wrongful conduct from Plaintiff and other members of the Classes;

f. Was unjustly enriched through the company’s actions; and
g. Violated consumer protection and other state law.
39. Other questions of law and fact common to the Classes include:
a. The proper method or methods by which to measure damages; and
b. The declaratory and injunctive relief to which the Classes are entitled.
40. Plaintiff s claims are typical of the claims of other Class members, in that they arise

out of the same wrongful conduct and the same or substantially similar unconscionable conduct
by IKEA. Plaintiff has suffered the harm alleged and has no interests antagonistic to the interests

of any other Class member.

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41. IKEA acted on grounds generally applicable to the entirety of the Classes, thereby
making final injunctive relief and/or corresponding declaratory relief appropriate with respect to
the Classes as a whole. Injunctive relief is necessary to prevent further unlawful conduct by IKEA.
Money damages alone will not afford adequate and complete relief, and injunctive relief is
necessary to restrain IKEA from continuing to engage in unlawful conduct.

42. Plaintiff is committed to the vigorous prosecution of this action and has retained
competent counsel experienced in the prosecution of class actions and, in particular, class actions
on behalf of consumers Accordingly, Plaintiff is an adequate representative and will fairly and
adequately protect the interests of the Classes.

43. A class action is superior to other available methods for the fair and efficient
adjudication of this controversy. Since the amount of each individual Class member’s claim is
small relative to the complexity of the litigation, and due to the financial resources of IKEA, no
Class member could afford to seek legal redress individually for the claims alleged herein. Further,
the prosecution of separate actions by individual Class Members would create the risk of
inconsistent or varying adjudications with respect to individual members of the Class that would
establish incompatible standards of conduct Therefore, absent a class action, the Class members
will continue to suffer losses and IKEA’s misconduct will proceed without remedy.

44. Even if Class members themselves could afford such individual litigation, the court
system could not. Individualized litigation would significantly increase the delay and expense to
all parties and to the Court. Individualized litigation would also create the potential for inconsistent
or contradictory rulings. By contrast, a class action presents far fewer management difficulties,
allows claims to be heard which might otherwise go unheard because of the relative expense of
bringing individual lawsuits, and provides the benefits of adjudication, economies of scale and

comprehensive supervision by a single court.

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45. Notice to the Classes may be made by publication or otherwise, including based on
IKEA’s records.
FIRST CLAIlVI FOR RELIEF

BREACH OF EXPRESS OR IMPLIED CONTRACT AND THE IMPLIED COVENANT
OF GOOD FAITH AND FAIR DEALING

46. Plaintiff repeats and realleges the allegations set forth above and incorporates the
same as if set forth herein at length.
47. Plaintiff brings this claim individually and on behalf of the proposed Classes

against Defendants.

48. The coupon provided to the Plaintiff and the Class Members constitutes a promise
on behalf of IKEA and as such is a valid, enforceable contract requiring IKEA to provide a
promised amount off total purchases (e.g., $25) of set amounts (e.g., $150 or more) before tax
when applicable.

49. Plaintiff and the proposed class members’ use of the coupon complied and fulfilled
all obligations under the coupon agreement and/or have had any alleged non-performance excused
by reason of lKEA’s actions.

50. IKEA’s return policy provided to the Plaintiff and the Class Members constitutes a
promise on behalf of IKEA and as such is a valid, enforceable contract requiring IKEA provide a
full refund on returned merchandise when applicable

51. Plaintiff and the proposed class members’ return of merchandise purchased with
the coupon complied and fulfilled all obligations under the return policy agreement and/or have
had any alleged non-performance excused by reason of lKEA’s actions.

52. IKEA materially breached its promises with Plaintiff by failing to perform their
obligations by either or both (l) not providing a promised amount off total purchases (e.g., $25)

of set amounts (e.g., 3315 0 or more) before tax, and/or (2) not providing a full refund on returned
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merchandise purchased with the coupon when the total purchases still exceeded set amounts before
tax even after the return.

53. As a direct result of material breaches by IKEA as set forth herein, Plaintiff was
damaged as may be shown according to proof at time of trial. The injury consists of the amount
of the reduction in price assigned by IKEA to each product purchased with the coupon and then
returned for the reduced price when the total purchases still exceeded a set amount before tax after
the return.

54. Further, every contract imposes upon each party a duty of good faith and fair
dealing in its performance The contracts between Plaintiff and IKEA contain an implied covenant
of good faith and fair dealing whereby neither party can do anything to infringe upon the other
party’s rights to the benefits of the contracts Accordingly, IKEA had a duty to act in good faith
and consistent with the terms of the contracts.

55. IKEA’s conduct, as set forth herein, breached the implied covenant of good faith
and fair dealing in the contracts with Plaintiff and the Classes.

56. For example, IKEA has materially breached the implied covenant of good faith and
fair dealing by, amongst other things set forth in this Complaint, promising to provide a full refund
returned merchandise, and failed to do so.

5 7. As a direct result of Defendants’ material breach of the covenant of good faith and
fair dealing, as set forth herein, Plaintiffs have been damaged as may be shown according to proof

at time of trial.

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SECOND CLAIM FOR RELIEF
FRAUD, FRAUDULENT INDUCEMENT, AND FRAUD IN THE EXECUTION

58. Plaintiff repeats the preceding paragraphs as if set forth fully herein.

59. IKEA affirmatively misrepresented and/or did not disclose sufficient facts to render
non-misleading its statements about customers receiving a full refund on returned goods when they
purchase goods with the coupon.

60. IKEA knew, or reasonably should have known, that its representations alleged
herein were materially false or misleading, or that omission of material facts rendered such
representations false or misleading IKEA also knew, or had reason to know, that its
misrepresentations and omissions would induce Class members to purchase additional
merchandise at IKEA locations

61. IKEA’s misrepresentations or omissions were material and a substantial factor in
Plaintiff and Class members’ making purchases and additional purchases of merchandise at IKEA
locations

62. IKEA intended its misrepresentations or omissions to induce Plaintiff and Class
members to make purchases and additional purchases of merchandise at IKEA locations, or had
reckless disregard for same

63. But for these misrepresentations (or omissions), Plaintiff and Class members would
not have made purchases of merchandise at IKEA locations, and/or would not have made
additional purchases of merchandise, an/or would have made purchases elsewhere

64. Plaintiff and Class members were justified in relying on IKEA’s
misrepresentations The same or substantively identical misrepresentations were communicated,
and/or the same or substantively identical omissions were not communicated, to each Class

member.

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65. IKEA failed in the execution of the promised discount by not honoring, applying,
or handling it correctly as represented in the case of Plaintiff and Class members

66. Plaintiff and Class members were damaged by reason of lKEA’s
misrepresentations or omissions alleged herein.

THIRD CLAIM FOR RELIEF
NEGLIGENT MISREPRESENTATION OR OMISSION

67. Plaintiff repeats the preceding paragraphs as if set forth fully herein.

68. IKEA had or undertook a duty to accurately and truthfully represent to consumers
the truth regarding its discount coupon and return policy.

69. IKEA failed to exercise ordinary care in making representations concerning its
discount coupon and return policy.

70. IKEA negligently misrepresented or omitted facts regarding its discount coupon
and return policy.

71. IKEA’s statements were false at the time the misrepresentations were made (or at
the time omissions were not made).

72. IKEA knew, or reasonably should have known, that its representations alleged
herein were materially false or misleading, or that omission of material facts rendered such
representations false or misleading IKEA also knew, or had reason to know, that its
misrepresentations and omissions would induce Class members to make purchases of merchandise
at IKEA locations or to make additional purchases of merchandise

73. As a direct and proximate result of IKEA’s acts and omissions described herein,
Plaintiff and putative Class members have suffered harm, and will continue to do so.

74. IKEA’s misrepresentations or omissions were material and a substantial factor in
Plaintiff and Class members’ making purchases or additional purchases of merchandise at IKEA

locations

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75. IKEA intended its misrepresentations or omissions to induce Plaintiff and Class
members to make purchases or additional purchases of merchandise at IKEA locations, or had
reckless disregard for same.

76. But for these misrepresentations (or omissions), Plaintiff and Class members would
not have made purchases or additional purchases of merchandise at IKEA locations, an/or would
have made purchases elsewhere

77. Plaintiff and Class members were justified in relying on IKEA’s
misrepresentations The same or substantively identical misrepresentations were communicated,
and/or the same or substantively identical omissions were not communicated, to each Class
member.

78. Plaintiff and 'Class members were damaged by reason of IKEA’s
misrepresentations or omissions alleged herein,

FOURTH CLAIM FOR RELIEF
UNJUST ENRICHl\/[ENT

79. Plaintiff repeats the preceding paragraphs as if set forth fully herein,

80. By means of IKEA’s wrongful conduct alleged herein, IKEA knowingly induced
Plaintiff and members of the Class to use the discount coupon by fraudulent, unfair, deceptive,
unconscionable and/or oppressive means

81. IKEA knowingly received and retained wrongful benefits from Plaintiff and
members of the Classes ln so doing, IKEA acted intentionally or with conscious disregard for the
rights of Plaintiff and members of the Classes

82. As a result of IKEA’s wrongful conduct as alleged herein, IKEA has been unjustly
enriched at the expense, and to the detriment, of Plaintiff and members of the Classes

83. IKEA’s unjust enrichment is traceable to, and resulted directly and proximately

from, the wrongful conduct alleged herein.

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84. lt is unfair and inequitable for IKEA to be permitted to retain the benefits it
received, and that it may still be receiving, withoutjustification, from the wrongful conduct alleged
herein, IKEA’s retention of such benefits under the circumstances is inequitable

85. The financial benefits derived by IKEA rightfully belong to Plaintiff and members
of the Classes in whole or in part. IKEA should be compelled to account for and disgorge in a
common fund for the benefit of Plaintiff and members of the Classes all wrongful or inequitable
proceeds received from them. A constructive trust should be imposed upon all wrongful or
inequitable sums received by IKEA traceable to Plaintiff and the members of the Classes

86. Plaintiff and members of the Classes have no adequate remedy at law.

87. IKEA’s fraudulent and unilateral decision how to apply the discount coupon and
return policy amounts to an illusory promise rendering any agreement unenforceable
unconscionable void, or voidable

FIFTH CLAIM FOR RELIEF

PENNSYLVANIA’S UNFAIR TRADE PRACTICES AND CONSUMER
PROTECTION LAW, 73 PA. STAT. § 201-1, ET. SEQ.

88. Plaintiff repeats and realleges the allegations set forth above and incorporates the
same as if set forth herein at length.

89. Plaintiff brings this count on his own behalf and on behalf of all Class members

90. IKEA engaged in fraudulent and deceptive conduct in violation of Pennsylvania
Unfair Trade Practices and Common Protection Law (“UTPCPL”), 73 Pa. Stat. § 201-l et. seq. by
informing Plaintiff and other Class members that it would provide a full refund on returned
merchandise purchased using the coupon at issue when the total purchases still exceeded the set
amount before tax after the return.

9l. Additionally, Defendant engaged in fraudulent and deceptive conduct in violation
of UTPCPL when it did not provide Plaintiff and other Class members the full value of the

promised amount off total purchases (e.g., $25) of set amounts (e.g., $150 or more) when
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merchandise purchased using the coupon at issue was returned and the total purchases still
exceeded the set amount before tax after the return.

92. The goal, purpose and/or effect of IKEA’s fraudulent and deceptive scheme was to
retain additional profits for itself and continue to protect itself against perceived risk.

93. As a direct and proximate result of IKEA’s deceptive and Haudulent conduct
violating the UTPCPL, Plaintiff and other Class members suffered injury. The injury consists of
the amount of the reduction in price assigned by IKEA to each product purchased with the coupon
and then returned for the reduced price when the total purchases still exceeded a set amount before
tax after the return.

94. This injury is of the type the UTPCPL was designed to prevent and directly results
from IKEA’s unlawful conduct.

95. ln addition to actual damages, Plaintiff and other Class members are entitled to
declaratory and injunctive relief as well as reasonable attorney’s fees and costs pursuant to 73 Pa.
Stat § 201-9.2.

SIXTH CLAIM FOR RELIEF
DECLARATORY RELIEF

96. Plaintiff repeats the foregoing paragraphs as if set forth herein.

97. The Declaratory Judgment Act, 28 U.S.C. § 2201(a), provides that in “a case of
actual controversy within its jurisdiction . . . any court of the United States . . . may declare the
rights and other legal relations of any interested party seeking such declaration, whether or not
further reliefis or could be sought.” 28 U.S.C. § 2201(a).

98. As described above, this Court has jurisdiction over this matter, and therefore may
declare the rights of Plaintiff and the Classes.

99. Class-wide declaratory relief is appropriate where a Defendant has “acted or

refused to act on grounds that apply generally to the class.”

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l00. IKEA have established a system through which merchandise purchased using the
coupon at issue is assigned a diminished value based on a formula for purposes of what constitutes
a full refund amount if that merchandise is returned.

101. A judicial declaration as to whether this system is fair, reasonable and appropriate
so the parties may ascertain their rights, duties, and obligations with respect to one another is
necessary.

102. The Court should use its equitable powers to declare that this system does not fairly,
reasonably or appropriately value the merchandise purchased with the coupon such that when a
customer returns the merchandise purchased with the coupon and the original purchase still
exceeds a set amount, the amount the customer receives under the return policy is not a full refund
price, but rather a wrongfully reduced price, and IKEA is liable to Plaintiff and the Classes for
damages caused by that practice

SEVENTH CLAIM FOR RELIEF
INJUNCTIVE RELIEF

103. Plaintiff repeats the foregoing paragraphs as if set forth herein,

104. This is an action for permanent injunctive relief seeing to enjoin IKEA from
continuing to imposing a system through which merchandise purchased using the coupon at issue
is assigned a diminished value based on a formula for purposes of what constitutes a full refund
amount if that merchandise is returned.

105 . Plaintiff and other class members are persons aggrieved by IKEA’s practices and
are entitled to seek an injunction against lKEA to permanently enjoin it, and to recover their
reasonable attorneys’ fees and court costs

106. The foregoing actions and conduct by IKEA continue at present, and will continue

unabated, unless and until prohibited by this Court and constitute a violation of law.

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107. Plaintiff and the classes have no adequate remedy at law and they - and the
consuming public - will or are likely to suffer irreparable harm unless IKEA’s practices alleged
herein are enjoined.

108. Plaintiff and the classes will suffer irreparable harm if an injunction is not granted
as monetary damages cannot force IKEA to correct its improper conduct, change its improper
practices or enjoin it from continuing its improper practice

109. The requested injunction promotes the public interest by furthering the proper
application of law and preventing the improper collection of improper charges from unknowing
consumers

110. Accordingly, Plaintiff and the classes asks this Court to enjoin IKEA from a
implementing a system through which merchandise purchased using the coupon at issue is
assigned a diminished value based on a formula for purposes of what constitutes a full refund
amount if that merchandise is returned.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff and the Classes demand ajury trial on all claims so triable and
judgment as follows:

A. Declaring IKEA’s conduct to be a breach of contract or a breach of the duty of good
faith and fair dealing

B. Declaring IKEA’s conduct alleged herein to be fraudulent, deceptive, wrongful,
unfair, inequitable, and unconscionable;

C. Restitution owing to Plaintiff and the Classes as a result of the wrongs alleged
herein in an amount to be determined at trial;

D. An accounting and disgorgement of the ill-gotten gains derived by IKEA’s
misconduct;

E. Actual damages in an amount according to proof;

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F. A temporary and permanent injunction enjoining IKEA from engaging in the same

wrongful conduct going forward, including but not limited to requiring IKEA to

adequately disclose facts to render truthful its representations;

G. Punitive and exemplary damages;

H. Pre-judgment and post-judgment interest at the maximum rate permitted by

applicable law;

I. Costs and disbursements assessed by Plaintiff in connection with this action,

including reasonable attorneys’ fees; and

J. Such other relief as this Court deems just and proper.

Dated: September 13, 2018

Respectfully submi

    

/s/DJS889

 

 

    

Richard M. _ b, Esquire

Kenneth J. runfeld, Esquire

David J. Stanoch, Esquire

GoLoMB & HoNIK, P.C.

1835 Market Street, Suite 2900

Philadelphia, PA 19103

Phone: (215) 985-9177

Fax: (215) 985-4169

Email: rgolomb@golombhonik.com
kgrunfeld@golombhonik.com
dstanoch@golombhonik.com

Attorneysfor Plaimijj‘and the Proposed Classes

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